                                                                                FILED
                                                                          IN CLERK'S OFFICE
                                                                         US DISTRICT COURT E.D.N.Y.
                                                                         * SEPTEMBER 26, 2022 *
                                                                         BROOKLYN OFFICE
                                      INFORMATION SHEET


                                UNITED STATES DISTRICT COURT             22-CR-434
                             EASTERN DISTRICT OF NEW YORK                Judge Komitee
                                                                         Magistrate Judge Pollak
1.      Title of Case: United States v. Yurv Orekhov et al


2.      Related Magistrate Docket Number(s):

3.      Arrest Date:   Click here to enter a date.


4.      Nature of offense(s):     IS Felony
                                  □    Misdemeanor


5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
        Division of Business Rules):

6.      Projected Length of Trial:     Less than 6 weeks         IS
                                       More than 6 weeks         □

7.      County in which crime was allegedly committed: Kings, Queens.
        (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
        pending or initiated before March 10, 2012.'             □ Yes IS No

9.      Has this indictment/information been ordered sealed?          S Yes □ No


10.     Have arrest warrants been ordered?                            IS Yes □ No


11.     Is there a capital count included in the indictment? □ Yes S No


                                                       BREON PEACE
                                                       UNITED STATES ATTORNEY


                                              By:          /s/
                                                       Artie McConnell
                                                       Assistant U.S. Attorney
                                                       (718) 254-7150




        Judge Brodie will not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
